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                          Exhibit A
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   DISTRICT COURT, MONTROSE COUNTY,                                 U.S. ATTORNEY'S OFFIC':
   COLORADO                                                         DISTRICT OF COLOf~ADO
   1200 N Grand Ave., Montrose, CO 81401


   Plaintiff:     MATTHEW IMUS, EMILY IMUS, and
                  MATTHEW IMUS and EMILY IMUS as
                  the CO-PERSONAL
                  REPRESENTATIVES ofthe ESTATE
                  OF CONNOR IMUS                                □        COURT USE ONLY       □

   V.                                                           Case No. 2021 CV030025

   Defendants:    THE UNCOMPAHGRE VALLEY
                  WATER USERS ASSOCIATION; and
                  the UNITED STATES OF                          Div. 5
                   AMERICA
                                                                Judge Mary E Deganhart
   J. Keith Killian, Esq.                          No. 9042
   Timothy R. Wolfe, Esq.                         No. 56952
   Killian, Davis, Richter & Kraniak, PC
   202 North Seventh Street
   Post Office Box 4859
   Grand Junction, Colorado 81502
   Telephone: (970) 241-0707
   Attys. for Plaintiffs


                                            SUMMONS



  TO THE ABOVE NAMED DEFENDANT:

          The United States of America
          ATTN: Cole Finegan, Esq.
          United States Attorney for the District of Colorado
          1801 California Street, Suite 1600
          Denver, CO 80202




                                                 - 1-
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          YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court an
  answer or other response to the attached Complaint. If service of the Summons and Complaint was
  made upon you within the State of Colorado, you are required to file your Answer or other response
  within twenty-one (21) days after such service upon you. If service of the Summons and Complaint
  was made upon you outside the State of Colorado, you are required to file your answer or other
  response within thirty-five (35) days after such service upon you. Your answer or counterclaim must
  be accompanied with the applicable filing fee.

          If you fail to file your answer or other response to the Complaint in writing within the
  applicable time period, the Court may enter judgment by default against you by the court for the
  relief demanded in the Complaint without further notice.

         A copy of the Complaint and Civil Case Cover Sheet is served along with this Summons.

         DATED this 18th day of May 2022.

                                                       Killian, Davis, Richter & Kraniak, PC




                                                       Isl Tim Wolfe
                                                       J. Keith Killian, No. 9042
                                                       Timothy R. Wolfe, No. 56952
                                                       Attorneys for Plaintiffs



  This Summons is issued pursuant to Rule 4, C.R.C.P., as amended. A copy of the
  Complaint must be served with this Summons.

  WARNING: A valid summons may be issued by a lawyer and it need not contain a court case
  number, the signature of a court officer, or a court seal. The plaintiff has 14 days from the date
  this summons was served on you to file the case with the court. You are responsible for
  contacting the court to find out whether the case has been filed and obtain the case number. If
  the plaintiff files the case within this time, then you must respond as explained in this summons.
  If the plaintiff files more than 14 days after the date the summons was served on you, the case
  may be dismissed upon motion and you may be entitled to seek attorney's fees from the plaintiff.




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   DISTRICT COURT, MONTROSE COUNTY,
   COLORADO

   1200 N Grand Ave., Montrose, CO 81401


   Plaintiffs:    MATTHEW IMUS, EMILY IMUS, and
                  MATTHEW IMUS and EMILY IMUS as
                  the CO-PERSONAL
                  REPRESENTATIVES of the ESTATE                         COURT USE ONLY
                  OF CONNOR IMUS
                                                               .t..
                                                                      -------------    .t..

                                                               Case No.

   V.

   Defendants: THE UNCOMPAHGRE VALLEY                          Div.
               WATER USERS ASSOCIATION, and
               the UNITED STATES OF AMERICA


   J. Keith Killian, Esq.                          No. 9042
   Timothy R. Wolfe, Esq.                         No. 56952
   KILLIAN DAVIS Richter & Mayle, PC
   202 North Seventh Street
   Post Office Box 4859
   Grand Junction, Colorado 81502
   Telephone: (970) 241-0707
   Attys. for Plaintiffs

                                           COMPLAINT



          Plaintiffs, Matthew Imus and Emily Imus individually, and Matthew Imus and Emily
  Imus as the co-personal representatives of the estate of Connor Imus, through their attorneys of
  record, Killian Davis Richter & Mayle, PC, hereby submit this COMPLAINT and in support
  thereof state as follows:
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                           PARTIES, JURISDICTION, AND VENUE

         1.      Plaintiff, Matthew Imus, is a citizen of Montrose County, State of Colorado,
  United States, who currently resides at the following address: 3739 Buffalo Lane, Montrose,
  Colorado 81403.

          2.     Plaintiff, Emily Imus, is a citizen of Montrose County, State of Colorado, United
  States, who currently resides at the following address: 16377 6770 Court, Montrose, Colorado
  81401.

          3.    On May 5, 2019, and at all other relevant times, Connor Imus (deceased) was a
  resident of Montrose County, Colorado.

           4.    Connor Imus died on May 5, 2019, in Montrose County, Colorado.

         5.     Upon information and belief, Connor Imus died in the South Canal near Latitude
  38.4081 degrees North and Longitude 107.8021 degrees West (the "Property").

           6.    Matthew Imus is the natural father of Connor Imus.

           7.    Emily Imus is the natural mother of Connor Imus.

        8.     On May 5, 2019, and at all other relevant times, Matthew Imus was a resident of
  Montrose County, Colorado.

        9.     On May 5, 2019, and at all other relevant times, Emily Imus was a resident of
  Montrose County, Colorado.

         10.    On May 5, 2019, and at all other relevant times, the Uncompahgre Valley Water
  Users Association (the "UVWUA") was a non-profit association doing business in Montrose
  County, Colorado.

           11.   The UVWUA has a principal office located at 601 N Park Avenue, Montrose, CO
  81401.

           12.    On May 5, 2019, and at all other relevant times, the UVWUA participated in the
  development, operation, and maintenance of the Property, including the canal and irrigation
  facilities in Colorado that gave rise to this cause of action.

         13.     On May 5, 2019, and at all relevant times, the United States of America (the
  "US"), acting through the Bureau of Reclamation, US Department of the Interior (the "DOI")

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  participated in the development, operation, and maintenance of the Property, including the canal
  and irrigation facilities in Colorado that gave rise to this cause of action.

          14.    On May 5, 2019, and at all relevant times, the US held title to the Property,
  including the canal and irrigation facilities in Colorado that gave rise to this cause of action.

         15.    This Court is vested with jurisdiction over the UVWUA because the alleged tort
  occurred in Colorado and UVWUA is a non-profit association doing business within the State of
  Colorado, in Montrose County, as authorized.
          16.     Because this is an action now brought under the Federal Tort Claims Act, the US
  District Court for the District of Colorado has original jurisdiction over this action.
          17.   The plaintiffs completed Standard From 95, CLAIM FOR DAMAGE, INJURY,
  OR DEATH, alleging essentially the same facts and claims against the US as are alleged in this
  Complaint. The plaintiffs submitted the completed Standard Form 95 to the DOI on April 29,
  2021, in compliance with 28 U.S.C. § 240l(b).
          18.    The US failed to make a final disposition of the claims alleged in the Standard
  Form 95 within six months. Under 28 U.S.C. § 2675(a), after six months, the US 's delay can be
  deemed a final denial. Thus, the plaintiffs have satisfied the prerequisites to bringing an action
  for these claims against the US.
          19.    The US denied the claims Matthew and Emily Imus brought in their individual
  capacities on January 13, 2022.
          20.     On March 1, 2022, the US claimed it was rejecting, but nevertheless would have
  denied, the claims brought on behalf of Connor Imus.
         21.     The venue of this action is proper in the US District Court for the District of
  Colorado.
         22.    The claims for relief set forth below are subject to the applicable laws of the State
  of Colorado and the federal laws of the United States.

                                    GENERAL ALLEGATIONS

         23.     Plaintiffs incorporate by reference each paragraph of this Complaint.

         24.     The UVWUA was developed in 1902 to organize a plan to divert the Gunnison
  River. This project includes over 83,000 acres ofland located in Montrose and Delta counties. It
  surrounds the cities of Montrose, Delta, and the town of Olathe for 34 miles along both sides of
  the Uncompahgre River. The irrigation water for this project is diverted from the rivers into a
  network of canals and laterals. It includes 128 miles of major canals, 438 miles of laterals and
  216 miles of drains. The laterals carry the irrigation water to each headgate. At the headgate the
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  water enters private ditches and facilities operated by the landowners. After use, the tail water
  flows away from the property into laterals to be reused and into drains.

         25.     The US worked with the UVWUA to construct the irrigation project, which the
  US named the "Uncompahgre Project." The Uncompahgre Project consisted of the Gunnison
  Tunnel, Taylor Park Dam and Reservoir, South Canal, canal, distribution and drainage systems,
  and other works and structures. The US acquired water rights, canals, land, and other property
  and rights of various kinds to facilitate the project.

          26.    The US entered into 10 contracts with the UVWUA between 1904 and 1940, all
  of which provided for the construction of the Uncompaghre Project, including the payment of the
  cost thereof and/or the performance of acts and things connected with said project.

          27.    The 10 contracts between the US and the UVWUA, executed between 1904 and
   1940, were superseded by a 1948 contract between the US and the UVWUA.

         28.    As of the 1948 contract, the UVWUA owed the US nearly $9 million for work
  performed directly by the USA related to the project.

           29.    The 1948 contract states that the US remained the title holder of all assets and
  rights transferred to the UVWU A under the contract.

          30.     The 1948 contract states that the US retained the perpetual right to use for its sole
  benefit the assets and rights transferred to the UVWUA under the contract.

         31.     The UVWUA has operated and maintained the project since 1932, including
  maintaining all of the canals and laterals up to and including the headgate.

         32.     Connor Imus was 17 years old on May 5, 2019. At or around 11 :30 a.m., Connor
  went for a walk with his dog, Bella.

         33.     Connor Imus did not report to work at 2 p.m., which was highly untypical and
  cause for suspicion.

          34.      Matthew Imus and Emily Imus attempted to locate Connor by calling and tracking
  his cellular telephone with GPS. The GPS search revealed Connor's cellphone and keys on the
  canal bank, near the entrance of the syphon area of the canal.

          35.     At or around 6:45 p.m., Emily Imus contacted 911 to report Connor as missing,
  the location of his cellular telephone and keys, and filed a missing person's report with the
  Montrose County Sherriff s office.

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         36.    A search for Connor Imus was led by Montrose County Sherriffs office, and
  aided by Montrose County Posse, the UVWUA, Delta-Montrose Electric Association, friends,
  and family, began May 5, 2019, and went throughout the night and into the following day.

          37.     Upon information and belief, to aid in the search, the UVWUA lowered the water
  levels of the canal at the plant's intake bay.

          38.     At or around midnight, Connor Imus's dog, Bella, was found dead in the canal's
  grates, near the turbine.

         39.     Bella drowned in the canal.

         40.     The following day, On May 6, 2019, the UVWUA - with permission from the
  Delta-Montrose Electrical Association, further lowered the water levels at the intake bay. At or
  around 2 p.m., Connor Imus's body was found on a shelf feature of the canal near the Drop Five
  Hydroelectrical Generational Plant.

         41.     Connor Imus drowned in the canal on or around the Property.

          42.     Upon information and belief, Connor Imus may have entered the water of the
  canal in an attempt to save his dog Bella from drowning.

          43.    The area of the canal on and around the Property is very deceptive and very
  dangerous. While on the surface it appears to be slow moving and shallow, it is in fact very fast-
  moving with a powerful undercurrent and undertow. Estimates from the time indicate the water
  flow in the canal was moving at or around 700 cubic feet per second.

           44.     This is the second drowning in the canal in the past decade. In 2010, Rick Steele
  fell into the canal and drowned. His body was recovered near Uncompahgre Road, south of
  where Connor Imus's body was found.

         45.    Upon information and belief, there was no signage posted to warn individuals that
  the Property was private land.

         46.     Upon information and belief, there was no gate, chain, or rope marking off the
  Property or canal.

         47.     Upon information and belief, there was no signage on the Property warning of the
  dangers of the canal and its undercurrent.

        48.      Upon information and belief, it was only after Connor Imus's unfortunate
  drowning that the UVWUA or the US placed warning signs in the area.
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                         FIRST CLAIM FOR RELIEF
                           AGAINST THE UVWUA
     NEGLIGENCE RESULTING IN WRONGFUL DEATH AND SURVIVOR CLAIM
                   Section 13-21-202, C.R.S. (wrongful death);
                  Section 13-20-101, C.R.S. (survival of actions);
                                  CJI-Civ. 9: I

         49.     Plaintiffs incorporate by reference each paragraph of this Complaint.

         50.     The UVWUA owed a duty of care to Connor Imus.

         51.     The UVWUA breached its duty of care that it owed to Connor Imus.

         52.    The UVWUA's breach of the duty of care that it owed to Connor Imus was a
  cause of Connor Imus's injuries, damages, and losses resulting from the May 5, 2019, incident.

         53.    The UVWUA's breach of the duty of care that it owed to Connor Imus was a
  cause of Connor Imus's death on May 5,2019.

          54.     Connor Imus incurred injuries, damages, and losses during his life and as the
  result of his wrongful death which occurred on May 5, 2019.

         55.     Matthew Imus incurred injuries, damages, and losses as the result of the wrongful
  death of his son Connor Imus on May 5, 2019.

         56.     Emily Imus incurred injuries, damages, and losses as the result of the wrongful
  death of her son Connor Imus on May 5, 2019.

                        SECOND CLAIM FOR RELIEF
                           AGAINST THE UVWUA
    PREMISES LIABILITY TO INVITEE RES UL TING IN WRONGFUL DEATH AND
                             SURVIVOR CLAIM
                          SECTION 13-21-115, C.R.S.;
                               C.J.1.-Civ. 12:3

         57.     Plaintiffs incorporate by reference each paragraph of this complaint.

         58.     Plaintiffs incurred injuries, damages, and losses as a result of the May 5, 2019,
  incident.

          59.     On May 5, 2019, and at all other relevant times, the UVWUA was a "landowner"
  as defined in section 13-21-115(1), C.R.S., of the Property.
                                                   6
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           60.    On May 5, 2019, and at all other relevant times, The UVWUA was in possession
   of the Property and was legally responsible for the condition of the Property and for the activities
   conducted or circumstances existing on the premises of the Property.

          61.     On May 5, 2019, Connor Imus was an invitee as defined in section 13-21-
   115(5)(a), C.R.S., when he entered the Property.

         62.     On May 5, 2019, Connor Imus entered or remained on the Property in response to
  the UVWUA's express or implied representation that the public is requested, expected, or
  intended to enter or remain.

         63.     The UVWUA had a duty to exercise reasonable care to protect against dangers of
  which it actually knew or as a reasonable person exercising reasonable care should have known.

         64.   At all times relevant hereto, the UVWUA had the duty to warn the public of all
  dangerous conditions of which it was aware or should have been aware.

         65.    There were no signs, warnings, or notices to persons on the Property that the
  Property had an unsafe canal.

          66.    The UVWUA knew or should have known that the presence of the canal
  constituted a danger to the public, including Connor Imus.

          67.    The UVWUA knew or should have known that the presence of the canal
  constituted a dangerous condition.

         68.     The UVWUA failed to use reasonable care to protect Connor Imus against the
  danger of the canal.

          69.     Plaintiffs were injured as a result of the UVWUA's failure to exercise reasonable
  care.

           70.    Plaintiffs sustained injuries, damages, and losses as a result of The UVWUA's
  failure to exercise reasonable care.




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                          THIRD CLAIM FOR RELIEF
                            AGAINST THE UVWUA
     PREMISES LIABILITY TO LICENSEE RESULTING IN WRONGFUL DEATH AND
                              SURVIVOR CLAIM
                            Section 13-21-115, C.R.S.;
                                  C.J.1.-Civ. 12:2

           71.    Plaintiffs incorporate by reference each and every paragraph of this complaint.

            72.    On May 5, 2019, and at all other relevant times, the UVWU A was a "landowner,"
    as defined in 13-21-115(1), C.R.S., of the Property.

           73.    On May 5, 2019, and at all other relevant times, the UVWUA was in possession
   of the Property and was legally responsible for the condition of the Property and for the activities
   conducted or circumstances existing on the Property.

            74.     On May 5, 2019, Connor Imus was a "licensee," as defined in section 13-21-
    l 15(5)(b), C.R.S., when he entered the Property.

          75.     On May 5, 2019, Connor Imus entered or remained on the premises of the
   Property for his own convenience or to advance his own interests, pursuant to the UVWUA's
   permission or consent.

          76.     Connor Imus had The UVWUA's permission or consent to enter or remain on the
   premises of the Property.

           77.     As a landowner, The UVWUA assumed a duty of care to Connor Imus, who was
   a licensee on the Property.

           78.    The UVWUA knew that the presence of the canal constituted a danger to the
   public, including Connor Imus.

           79.      The UVWUA failed to use reasonable care to warn of the danger on the Property,
    which it actually knew about, and the danger was one not ordinarily present on the premises.

          80.     The UVWUA failed to use reasonable care to protect against the danger on the
   Property.

           81.    Plaintiffs were injured as a result of the UVWUA' s failure to exercise reasonable
   care.



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              82.   Plaintiffs sustained injuries, damages, and losses as a result of the UVWUA's
   failure.

                          FOURTH CLAIM FOR RELIEF
                             AGAINST THE UVWUA
      PREMISES LIABILITY TO TRESSPASSEE RESULTING IN WRONGFUL DEATH
                            AND SURVIVOR CLAIM
                             Section 13-21-115, C.R.S.;
                                   C.J.I.-Civ. 12: 1

              83.   Plaintiffs incorporate by reference each and every paragraph of this complaint.

          84.    On May 5, 2019, and at all other relevant times, The UVWUA was a
   "landowner," as defined in 13-21-115(1), C.R.S., of the Property.

           85.    On May 5, 2019, and at all other relevant times, The UVWUA was in possession
   of the Property and was legally responsible for the condition of the Property and for the activities
   conducted or circumstances existing on Property.

             86.     On May 5, 20 I 9, Connor Imus was a "trespasser" as defined in section 13-21-
    l l 5(5)(a), C.R.S., when he entered the Property.

           87.     As a landowner, the UVWUA assumed a duty of care to Connor Imus, who was a
   trespasser on the Property.

           88.     The UVWUA knew that the presence of the canal constituted a danger to the
   public, including Connor Imus.

           89.    The UVWUA acted willfully or deliberately in its failure to warn and safeguard
   of the danger on the Property, which it actually knew about, and the danger was one not
   ordinarily present on the premises.

              90.   Plaintiffs were injured and died as a result of the UVWUA's willful or deliberate
   acts.

           91.     Plaintiffs sustained injuries, damages, and losses as a result of the UVWUA's
   willful and deliberate conduct.




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                                  •
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                           FIFTH CLAIM FOR RELIEF
                                AGAINST THE US
      NEGLIGENCE RESULTING IN WRONGFUL DEATH AND SURVIVOR CLAIM
                     Section 13-21-202, C.R.S.(wrongfu1 death);
                   Section 13-20-101, C.R.S. (survival of actions);
                                    CJI-Civ. 9: 1

          92.     Plaintiffs incorporate by reference all paragraphs of this Complaint.

          93.     The US owed a duty of care to Connor Imus.

          94.     The US breached the duty of care that it owed to Connor Imus.

         95.    The US's breach of the duty of care that it owed to Connor Imus was a cause of
   Connor Imus's injuries, damages, and losses resulting from the May 5, 2019, incident.

         96.    The US' s breach of the duty of care that it owed to Connor Imus was a cause of
   Connor Imus's death on May 5, 2019.

           97.     Connor Imus incurred injuries, damages, and losses during his life and as the
   result of his wrongful death which occurred on May 5, 2019.

          98.     Matthew Imus incurred injuries, damages, and losses as the result of the wrongful
   death of his son Connor Imus on May 5, 2019.

          99.     Emily Imus incurred injuries, damages, and losses as the result of the wrongful
   death of her son Connor Imus on May 5,2019.

                         SIXTH CLAIM FOR RELIEF
                              AGAINST THE US
     PREMISES LIABILITY TO INVITEE RESULTING IN WRONGFUL DEATH AND
                              SURVIVOR CLAIM
                           SECTION 13-21-115, C.R.S.
                                C.J.I.-Civ. 12:3

          100.    Plaintiffs incorporate by reference each paragraph of this Complaint.

           101.   Plaintiffs incurred injuries, damages, and losses as a result of the May 5, 2019,
   incident.

          102. On May 5, 2019, and at all other relevant times the US was a "landowner," as
   defined in section 13-21-115(1), C.R.S., of the Property.
                                                   10
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          103. On May 5, 2019, and at all other relevant times the US was in possession of the
   Property and it was legally responsible for the condition of the Property and for the activities
   conducted or circumstances existing on the premises of the Property.

            104. On May 5, 2019, Connor Imus was an invitee as defined in section 13-21-
    l 15(5)(a), C.R.S., when he entered the Property.

          105. On May 5, 2019, Connor Imus entered or remained on the Property of the US in
   response to the US's express or implied representation that the public is requested, expected, or
   intended to enter or remain.

            106. The US has a duty to exercise reasonable care to protect against dangers of which
   it actually knew or as a reasonable person exercising reasonable care should have known.

          I 07. At all times relevant hereto, the US had the duty to warn the public of all
   dangerous conditions of which it was aware or should have been aware.

          108. There were no signs, warnings, or notices to persons on the Property that the
   Property had an unsafe canal.

           109. The US knew or should have known that the presence of the canal constituted a
   danger to the public, including Connor Imus.

          110. The US knew or should have known that the presence of the canal constituted a
   dangerous condition.

           111.   The US failed to use reasonable care to protect Connor Imus against the danger of
   the canal.

           112.   Plaintiffs were injured as a result of the US's failure to exercise reasonable care.

           113. Plaintiffs sustained injuries, damages, and losses as a result of the US' s failure to
   exercise reasonable care.

                         SEVENTH CLAIM FOR RELIEF
                               AGAINST THE US
     PREMISES LIABILITY TO LICENSEE RESULTING IN WRONGFUL DEATH AND
                              SURVIVOR CLAIM
                            Section 13-21-115, C.R.S.;
                                  C.J.I.-Civ. 12:2

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           114.   Plaintiffs incorporate by reference each paragraph of this complaint.

           115. On May 5, 2019, and at all other relevant times, the US was a "landowner," as
    defined in 13-21-115(1), C.R.S., of the Property.

           116. On May 5, 2019, and at all other relevant times, the US was in possession of the
    Property and was legally responsible for the condition of the Property and for the activities
    conducted or circumstances existing on the Property.

           117. On May 5, 2019, Connor Imus was a "licensee," as defined in section 13-2 l-
    115(5)(b ), C.R.S., when he entered the Property.

          118. On May 5, 2019, Connor Imus entered or remained on the premises of the
   Property for his own convenience or to advance his own interests, pursuant to the US' s
   permission or consent.

          119. Connor Imus had the US' s permission or consent to enter or remain on the
   premises of the Property.

            120. As a landowner, the US assumed a duty of care to Connor Imus, who was a
    licensee on the Property.

            121. The US knew that the presence of the canal constituted a danger to the public,
    including Connor Imus.

             122. The US failed to use reasonable care to warn of the danger on the Property which
    it actually knew about, and the danger was one not ordinarily present on the premises.

           123.   The US failed to use reasonable care to protect against the danger on the Property.

           124.   Plaintiffs were injured as a result of the US's failure to exercise reasonable care.

           125.   Plaintiffs sustained injuries, damages, and losses as a result of the US 's failure.

                          EIGHTH CLAIM FOR RELIEF
                               AGAINST THE US
      PREMISES LIABILITY TO TRESSPASSEE RESULTING IN WRONGFUL DEATH
                            AND SURVIVOR CLAIM
                             Section 13-21-115, C.R.S.;
                                   C.J.1.-Civ. 12:1

           126.   Plaintiffs incorporate by reference each paragraph of this complaint.
                                                    12
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           127. On May 5, 2019, and at all other relevant times, the US was a "landowner," as
    defined in 13-21-115(1), C.R.S., of the Property.

           128. On May 5, 2019, and at all other relevant times, the US was in possession of the
    Property and was legally responsible for the condition of the Property and for the activities
    conducted or circumstances existing on the Property.

           129. On May 5, 2019, Connor Imus was a "trespasser" as defined in section 13-21-
    115(5)(a), C.R.S., when he entered the Property.

            130. As a landowner, the US assumed a duty of care to Connor Imus, who was a
    trespasser on the Property.

            131. The US knew that the presence of the canal constituted a danger to the public,
    including Connor Imus.

            132. The US acted willfully or deliberately in its failure to warn and safeguard of the
    danger on the Property, which it actually knew about, and the danger was one not ordinarily
    present on the premises.

            133.   Connor Imus was injured and died as a result of the US's willful or deliberate
    acts.

            134. Plaintiffs sustained injuries, damages, and losses as a result of the US' s willful
    and deliberate conduct.

                                              DAMAGES
                                          CJI-Civ. 6: l and l 0:3

            135.   Plaintiffs incorporate by reference all paragraphs of this Complaint.

            136. Connor Imus sustained injuries, damages, and losses as a result of the May 5,
    2019, incident.

            137. Matthew Imus sustained injuries, damages, and losses as a result of the May 5,
    2019, incident.

            138.   Emily Imus sustained injuries, damages, and losses as a result of the May 5, 2019,
    incident.

             139. Matthew Imus and Emily Imus may maintain an action under section 13-21-202,
    C .R.S, for the injuries, damages, and losses resulting from the wrongful death of their son
                                                    13
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    Connor Imus on May 5, 2019.

          140. The defendants' wrongful actions and/or omissions were a cause of the injuries,
    damages, and losses sustained by Connor Imus as result of the May 5, 2019, incident.

           141. The defendants' wrongful actions and/or omissions were a cause of the injuries,
    damages, and losses sustained by Matthew Imus and Emily Imus as a result of the wrongful
    death of their son Connor Imus on May 5, 2019.

            142. The defendants' wrongful actions and/or omissions caused Matthew Imus and
    Emily Imus to incur past, present, and future noneconomic injuries, damages, and losses due to
    the death of Connor Imus, including but not limited to grief, pain and suffering, emotional stress,
    and impairment of the quality of life.

            143. The defendants' wrongful actions and/or omissions caused Matthew Imus and
    Emily Imus to incur past, present, and future economic injuries, damages, and losses due to the
    death of Connor Imus, including reasonable funeral expenses; loss of earnings and impairment of
    earning capacity; reasonable and necessary medical expenses including, but not limited to,
    physician expenses, prescription expenses, and counseling expenses; and any net financial loss
    which is the same as the financial benefit Matthew Imus might reasonably have expected to
    receive from Connor Imus had he lived beyond May 5, 2019.

           WHEREFORE, plaintiffs respectfully request that this Court enter judgment in their
    favor and against defendants, and grant:

           (a) That the court award plaintiffs judgment against defendants in such sums as shall be
               determined to fully and fairly compensate Plaintiffs for all damages incurred, or to be
               incurred, by Plaintiffs as the direct and proximate result of the acts and omissions of
               the defendants;

           (b) Economic losses, including past and future medical expenses, past and future wage
               loss, mileage, and the value ofloss of household services;

           (c) Noneconomic losses including (I) pain and suffering; (2) inconvenience; (3)
               emotional distress; and (4) impairment of the quality of life;

           (d) Compensation for the wrongful death and survivor claims as a result of the incident.

           (e) Compensation for loss of consortium suffered as a result of the incident.

           (f) Litigation costs associated with this action as permitted by law;

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          (g) Pre- and post-judgment interest at the highest lawful rate;

          (h) That the court permit Plaintiffs the opportunity to amend or modify the provisions of
              this Complaint as necessary or appropriate after additional or further discovery is
              completed in this matter, and after all appropriate parties have been served;

          (i) Any further relief that this Court deems just and proper, and any other relief as
              allowed by law.


   DATED this 16th day of April 2022.

                                                        KILLIAN DA VIS Richter & Mayle, PC



                                                        Isl J. Keith Killian
                                                        J. Keith Killian                     No. 9042
                                                        Timothy R. Wolfe                    No. 56952
                                                        Attorneys for Plaintiff


   Plaintiffs' Addresses:

   Matthew Imus: 3739 Buffalo Lane, Montrose, Colorado 81403.
   Emily Imus: 163 77 6770 Court, Montrose, Colorado 81401.




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    [8JFORM 1.2. DISTRICT COURT CIVIL (CV) CASE COVER SHEET FOR INITIAL
    PLEADING OF COMPLAINT, COUNTERCLAIM, CROSS-CLAIM OR THIRD PARTY
    COMPLAINT AND JURY DEMAND

    District Court, Montrose County, Colorado
    Court Address: 1200 N Grand Ave.
    Montrose, CO 81401
                                                                                       e-filed: 5/4/21
    Plaintiff( s): MAITHEW IMUS, EMILY IMUS, and MAITHEW
    IMUS as the PERSONAL REPRESENTATNE of the ESTATE OF
    CONNORIMUS


    V.
    Defendant(s): THE UNCOMPAHGRE VALLEY WATER
    USERS ASSOCIATION                                                                 _. COURT USE ONLY_.

    Attorney or Party Without Attorney (Name and Address):                     Case Number:
    J. Keith Killian, No. 9042
    Joseph L. Fredenburg, No. 55463
    KILLIAN DA VIS Richter & Mayle, PC
    202 N. 7th Street
    Grand Junction, CO 81501
    Phone Number: 970-241-0707                                                 Division     Courtroom
    FAX Number: 970-242-8375
    E-mail: keith@killianlaw.com; joseph@killianlaw.com

            DISTRICT COURT CIVIL (CV) CASE COVER SHEET FOR INITIAL PLEADING OF
                                        COMPLAINT,
                  COUNTERCLAIM, CROSS-CLAIM OR THIRD PARTY COMPLAINT
                                     AND JURY DEMAND


    1. This cover sheet shall be filed with the initial pleading of a complaint, counterclaim, cross-
       claim or third party complaint in every district court civil (CV) case. It shall not be filed in
       Domestic Relations (DR), Probate (PR), Water (CW), Juvenile (JA, JR, JD, JV), or Mental
       Health (MH) cases. Failure to file this cover sheet is not a jurisdictional defect in the pleading
       but may result in a clerk's show cause order requiring its filing.

   2. Simplified Procedure under C.R.C .P. 16.1 applies to this case unless (check one box below if
      this party asserts that C.R.C.P. 16.1 does not apply):

         ::::J   This is a class action, forcible entry and detainer, Rule I 06, Rule 120, or other similar
                 expedited proceeding, or




   JDF 601SC R09-18 DISTRICT COURT CIVIL (CV) CASE COVER SHEET          Page 1 of 2
Case 1:22-cv-01460-KLM Document 1-1 Filed 06/09/22 USDC Colorado Page 20 of 21




         ~    This party is seeking a monetary judgment against another party for more than
              $100,000.00, including any penalties or punitive damages, but excluding attorney fees,
              interest and costs, as supported by the following certification:

                 By my signature below and in compliance with C.R.C.P. 11, based upon information
                 reasonably available to me at this time, I certify that the value of this party's claims
                 against one of the other parties is reasonably believed to exceed $100,000."

         Or

         □ Another party has previously filed a cover sheet stating that C.R.C.P. 16.1 does not apply
         to this case.

    3.   □ This party makes a Jury Demand at this time and pays the requisite fee. See C.R.C.P. 38.
         (Checking this box is optional.)


    Date: May 4, 2021                                  /s/ J. Keith Killian
                                                       Signature of Party or Attorney for Party
    NOTICE
    This cover sheet must be served on all other parties along with the initial pleading of a
    complaint, counterclaim, cross-claim, or third party complaint.




   JDF 601SC R09-18 DISTRICT COURT CIVIL (CV) CASE COVER SHEET         Page 2 of 2
Case 1:22-cv-01460-KLM Document 1-1 Filed 06/09/22 USDC Colorado Page 21 of 21




                Your filing has been successfully submitted to the court. Your filing is not considered final until the court accepts it.




      Filing Information:
                    Filing ID: 63D9783D1 E69C
             Court Location: Montrose County
              Case Number: 2021 CV030025
               Case Caption: Imus, Matthew et al v. THE UNCOMPAHGRE VALLEY WATER USERS ASSOC
            Authorized Date: 05/04/2021 5:18 PM
               Submitted By: Cassidy Jennings

 Filing Party(ies):

r Party                             Type                   Status       Attorney
J.-~ ·-·-
\ Emily Imus                        Plaintiff              Active       Joseph Lester Fredenburg {Killian Davis Richter & Mayle, PC)
!1·                                                                     Keith Kilhan {Killian Davis Richter & Mayle, PC)

[ Matthew Imus                       Plaintiff             Active       Joseph Lester Fredenburg (Killian Davis Rrchter & Mayle, PC)
                                                                        Keith Killian (Killian Davis Richter & Mayle, PC)


 Documents:

  Document ID                                ; Document                                      Title                                      Statutory Fee        ; Security
                                             !
  3D556188364C9                                                                              Complarnt                                  $235 00               Public

  FF4A81 EDAAD4A                                                                             Civil Case Caver Sheet                    . $0.00                Public




 Courtesy Copy(ies):

                                                 _[_Type            Attorney                                     Organization                       Method

                                                                                       No results were found.

 Submission Options:
                    Note To Clerk: N/ A
                       Authorizer: Keith Killian
                  Submit Options: Submit to the court.



 Billing Information:
             Statutory Filing Fees: $235.00
                     E-Filing Fees: $12.00
             Courtesy Copy Fees: $0.00
                       Total Fees: $247.00
                 Billing Reference: 9731
